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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   ROBBIE BURKE, as the Special                          )
   Administrator of the Estate of Elliot Earl            )
   Williams, Deceased,                                   )
                                                         )
          Plaintiff,                                     )
                                                         )
   v.                                                    )
                                                         )      Case No. 11-CV-720-JED-PJC
   VIC REGALADO, SHERIFF OF TULSA                        )
   COUNTY, in His Official                               )
   Capacities, et al.,                                   )
                                                         )
          Defendant.                                     )

                      AGREED JUDGMENT AGAINST VIC REGALADO,
                IN HIS OFFICIAL CAPACITY AS SHERIFF OF TULSA COUNTY

           Plaintiff Robbie Burke, as the Special Administratrix of the Estate of Elliot Earl

   Williams appears through counsel, Daniel Smolen, and Defendant Vic Regalado, in his official

   capacity, appears through counsel, Guy Fortney. The Court finds that these parties have entered

   into the following stipulations:

           1.      Defendant has agreed to settle the case herein by paying to Plaintiff and her

   attorneys Ten Million Dollars and no Cents ($10,000,000.00), plus post-judgment interest at a

   rate of 4.75% per annum, in full settlement of this matter. The parties have agreed to terms and

   conditions of this Judgment to effectuate the settlement reached. This Judgment is subject to the

   following conditions:

                  a.       That upon execution and filing of this Judgment, Plaintiff
                           fully and completely releases any and all, past, present or future
                           claims, on behalf of the Estate of Elliott Williams, whether
                           known or unknown, against the Board of County
                           Commissioners of Tulsa County, Vic Regalado, Sheriff of
                           Tulsa County, in his official capacity; Stanley Glanz, in his
                           individual capacity and against any agent/employee and/or
                           representative of the Tulsa County Sheriff’s Office or Tulsa County

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                             which Plaintiff has, or may have, as a result of the alleged incidents
                             to have occurred herein, which includes Plaintiff and her attorneys
                             fully and completely releasing any and all past, present or future
                             claims for pre- and post-judgment interest, costs and attorneys’ fees
                             herein.

          2.      Plaintiff, as the Special Administratrix of the Estate of Elliot Earl Williams and on

   behalf of said estate is fully aware of the conditions upon which this confession of judgment is

   made and hereby fully accepts said conditions.

          3.      The Court accepts these stipulations and hereby enters this Agreed Judgment in the

   amount of Ten Million Dollars and no Cents ($10,000,000.00) to be paid as a judgment pursuant

   to statutory authority.

          4.      The parties’ Joint Motion to Enter Judgment (Doc. 614) is therefore granted.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that judgment is entered

   in favor of Plaintiff Robbie Burke, as the Special Administratrix of the Estate of Elliot Earl

   Williams, deceased, and against the Defendant Vic Regalado, in his official capacity as the Tulsa

   County Sheriff, in the sum of Ten Million Dollars and no Cents ($10,000,000.00) inclusive of

   attorneys’ fees and costs, together with post-judgment interest at a rate of 4.75% per annum.

          Dated this 2nd day of December, 2019.




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